
34 N.Y.2d 577 (1974)
In the Matter of the Claim of Anne Bump, Respondent,
v.
Central School District No. 3, Montrose, et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Submitted February 14, 1974.
Decided March 20, 1974.
Herbert Lasky and Joseph F. Manes for appellants.
William J. Torpy for claimant-respondent.
No appearance for Workmen's Compensation Board, respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Determination affirmed, with costs, on the opinion by Presiding Justice J. CLARENCE HERLIHY at the Appellate Division.
